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7
                        UNITED STATES DISTRICT COURT
8
                      NORTHERN DISTRICT OF CALIFORNIA
9

10
     ABANTE ROOTER AND                          )   Case No. 4:21-cv-07764-DMR
     PLUMBING INC; SIDNEY                       )
11   NAIMAN; WILLIAM LOFTUS;                    )   NOTICE OF VOLUNTARY
12   TERRY FABRICANT; and LOUIS                 )   DISMISSAL WITHOUT
     FLOYD, individually and on behalf of       )   PREJUDICE
13
     all others similarly situated,             )
14                                              )
     Plaintiffs,                                )
15
                                                )
16          vs.                                 )
17
                                                )
                                                )
18   HIT SQUAD MARKETING LLC;                   )
19   DOES 1 through 10, inclusive,              )
                                                )
20
     Defendant(s).                              )
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22
            NOTICE IS HEREBY GIVEN that Plaintiffs, pursuant to Federal Rule of
23

24   Civil Procedure 41(a)(1), hereby voluntarily dismiss the entire case without
25
     prejudice. Defendant has neither answered Plaintiffs’ Complaint, nor filed a
26

27
     motion for summary judgment. Although this case was filed as a class action, no

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                                       Notice of Dismissal - 1
             Case 4:21-cv-07764-DMR Document 9 Filed 12/29/21 Page 2 of 3



1
     class has been certified, and court approval of this voluntary dismissal is therefore
2
     not required under Rule 23(a) of the Federal Rules of Civil Procedure.
3

4          RESPECTFULLY SUBMITTED this 29th day of December, 2021.
5

6
                               By:    s/Todd M. Friedman
                                      Todd M. Friedman, Esq.
7
                                      Law Offices of Todd M. Friedman, P.C.
8                                     Attorney for Plaintiffs
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                                        Notice of Dismissal - 2
             Case 4:21-cv-07764-DMR Document 9 Filed 12/29/21 Page 3 of 3



1
                         CERTIFICATE OF SERVICE
2

3

4    Filed electronically on this 29th day of December, 2021, with:
5
     United States District Court CM/ECF system
6

7    And hereby served upon all parties
8
     Notification sent on this 29th day of December, 2021, via the ECF system to all
9    interested parties
10

11

12   This 29th day of December, 2021.
13
     By: s/Todd M. Friedman
14       Todd M. Friedman
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                                        Notice of Dismissal - 3
